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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


COREY L. HARRIS,                              )
                                              )
                       Plaintiff,             )       Civil Action No. 20-297E
                                              )
       v.                                     )       Judge Cathy Bissoon
                                              )
ROBERT WILKIE, et al.,                        )
                                              )
                       Defendants.            )


                                     ORDER OF DISMISSAL

       For the reasons that follow, Plaintiff’s Complaint will be dismissed, without prejudice,

pursuant to the screening provisions in 28 U.S.C. § 1915.

       Plaintiff has been granted leave to proceed in forma pauperis (“IFP”), and the Complaint

is subject to the screening provisions in 28 U.S.C. § 1915(e). See Atamian v. Burns, 2007 WL

1512020, *1-2 (3d Cir. May 24, 2007) (“the screening procedures set forth in [Section] 1915(e)

apply to [IFP] complaints filed by prisoners and non-prisoners alike”) (citations omitted).

Among other things, the statute requires the Court to dismiss any action where the plaintiff has

failed to state claims upon which relief may be granted. See Muchler v. Greenwald, 624 Fed.

Appx. 794, 796-97 (3d Cir. Aug. 18, 2015).

       Any leniency generally afforded pro se litigants notwithstanding, the Complaint fairly

may be described as a word-salad of cryptic “factual” references − the context of which cannot

be discerned and/or understood − generously spiced with “legalese” and laundry lists of

constitutional and statutory provisions purportedly violated. See generally Doc. 5. As such,

Plaintiff’s filing runs afoul of Federal Rule 8. See Fed. R. Civ. P. 8(a) (requiring “short and plain
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statement[s]” showing that the pleader is entitled to relief) and 8(d)(1) (“Each allegation must be

simple, concise, and direct.”).

       Accordingly, Plaintiff’s Complaint (Doc. 5) is DISMISSED pursuant to 28 U.S.C.

§ 1915 and Fed. R. Civ. P. 8. The dismissal is without prejudice to Plaintiff filing an amended

complaint, by no later October 30, 2020, that complies with Federal Rule 8, and otherwise states

claim(s) upon which relief properly may be granted. Should Plaintiff not timely file such an

amended complaint, the Court summarily will enter an order converting the dismissal to one with

prejudice. Finally, Plaintiff must make last, best efforts to comply with Rule 8, and to state

claim(s) upon which relief properly may be granted, because further opportunity for amendment

will not be afforded.

       IT IS SO ORDERED.



October 16, 2020                                      s/Cathy Bissoon
                                                      Cathy Bissoon
                                                      United States District Judge

cc (via First-Class U.S. Mail):

Corey L. Harris
965 East 31st Street
Erie, PA 16504




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